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-V- 2:02CR20175-01-D

TRAUN BASSETT
Randolph Aldenl FPD
Defense Attorney
200 Jefferson Ave., Ste, 200
Memphis, TN 38103

 

A-NlE-N-D-E-D* JUDGMENT lN A CRlIVl|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on September 03, 2002. On
February 26, 2005, the defendant appeared before the court for re-sentencing. According|y,
the court affirmed its earlier adjudication that the defendant is guilty of the following offense:

Date Offense Count

 

Tit|e & Section Nature of Offense Conc|uded Number
18 U.S.C. § 922 (k) Un|awfu| Possession of a Firearm 01/10/2002 1

with Removed, Obliterated and
Altered Seria| Number

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/17/1980 April 26, 2005
Deft's U.S. l\/larsha| No.: 18371-076

Defendant’s Mai|ing Address:
1968 C|ifton
|Vlemphis, TN 38127

  

w

B FlN|CE B. DONALD
UN|TED STATES D|STR[CT JUDGE

May jM ,2005

This document entered on the dower street in r.'unipirai'ica
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Case No: 02cr20175-01-D Defendant Name: Traun Bassett Page 2 of 5
lMPRlSONNiENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 34 |'il|onths.

The Court recommends to the Bureau of Prisons:
1. A facility as close to Memphis, Ti\l as possible.
2. The defendant shall participate in the Drug Treatment Program.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States l\l|arshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 02cr20175-01-D Defendant Name: Traun Bassett Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|SION

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(‘lO) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 02cr20175-01-D Defendant Name: Traun Bassett Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgmentl

ADDITIONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by
the Probation Officer for treatment of narcotic addiction or drug or alcohol dependency which may
include testing for the detection of substance use or abuse.

The defendant shall be taken into custody if any positive drug screens during period of designationl
The defendant shall be prohibited from possessing a firearm or other dangerous weapon.*

The defendant shall participate in a mental health program as directed by the Probation Officer.*

CR|M|NAL IV|ONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shail
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment is due immediately
No F|NE Was imposed.

No REST|TUT|ON was ordered.

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Case No: 02cr20175-01-D Defendant Name: Traun Bassett Page 5 of 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:02-CR-20175 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

